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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                                                            )
IN RE: NEW ENGLAND COMPOUNDING                              )
PHARMACY, INC. PRODUCTS LIABILITY                           )
                                                              MDL No. 1:13-md-2419-FDS
LITIGATION                                                  )
                                                            )
This Document Relates to:                                   )
      All Cases                                             )
                                                            )

     JOINT RESPONSE OF THE CHAPTER 11 TRUSTEE AND THE OFFICIAL
  COMMITTEE OF UNSECURED CREDITORS TO THE ROANOKE GENTRY LOCKE
    PLAINTIFFS’ REPLY TO THE OMNIBUS REPLY AND OPPOSITION OF THE
    CHAPTER 11 TRUSTEE AND THE OFFICIAL COMMITTEE OF UNSECURED
       CREDITORS AND THE STATEMENT OF INSIGHT HEALTH CORP.

        On December 27, 2013, Paul D. Moore, the Chapter 11 Trustee for the bankruptcy Estate

 of New England Compounding Pharmacy, Inc. (“NECC” or the “Debtor”), filed a renewed and

 supplemental motion (the “Renewed Motion to Transfer”)1 to transfer to this Court, pursuant to

 28 U.S.C. §§ 1334 and 157(b)(5), certain personal injury and wrongful death cases pending in

 Virginia state court in which the defendant, Insight Health Corp. (“Insight”), recently asserted

 claims for indemnity and contribution against NECC. The Official Committee of Unsecured

 Creditors of NECC (the “Official Committee”) filed a joinder supporting the Renewed Motion

 for Transfer [Dkt. 743].

        In opposition to the Renewed Motion to Transfer, the Roanoke Gentry Locke Plaintiffs

 (the “RGL Plaintiffs”) filed their Renewed Motion for Mandatory or Permissive Abstention

 under 28 U.S.C. § 1334 [Dkt. No. 763] (the “Renewed Abstention Motion”), together with a

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        On March 10, 2013, the Chapter 11 Trustee filed a Motion to Transfer Personal Injury
        Tort and Wrongful Death Cases Pursuant to 28 U.S.C. §§ 157(b)(5) and 1334 (the
        “Original Transfer Motion”) [Dkt. No. 37], which this Court granted in part and denied in
        a Memorandum and Order [Dkt. 170], dated May 31, 2013
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memorandum of law in support therof [Dkt. No. 764]. On January 27, 2014, in opposition to the

Renewed Abstention Motion, the Trustee and the Official Committee filed the Omnibus Reply of

the Chapter 11 Trustee and the Official Committee of Unsecured Creditors in Further Support of

the Trustee’s Renewed and Supplemental Motion to Transfer Additional Personal Injury Tort

and Wrongful Death Cases to This Court Pursuant to 28 U.S.C. §§ 1334 and 157(b)(5) and

Opposition to the Roanoke Gentry Locke Plaintiffs’ Renewed Motion for Mandatory or

Permissive Abstention Under 28 U.S.C. § 1334 [Dkt. 818] (the “Omnibus Reply”).2

        On February 3, 2014, the Roanoke Gentry Locke Plaintiffs filed the Roanoke Gentry

Locke Plaintiffs’ Reply to the Omnibus Reply and Opposition of the Chapter 11 Trustee and the

Official Committee of Unsecured Creditors and the Statement of Insight Health Corp. [Dkt. 844].

Although characterized as a reply, this latter submission (the “RGLP Sur-Reply”) is a thinly

disguised sur-reply to the Renewed Motion to Transfer, which offers new arguments, reargues

matters already decided by this Court and generally exceeds the scope of a proper reply in further

support of their Renewed Abstention Motion. Indeed, many of the RGL Plantiffs’ arguments

should have been raised in their opposition to the Original Transfer Motion.

                                         ARGUMENT

A.      157(b)(5) Authorizes this Court to Transfer the Roanoke State Court Cases Directly
        to this Court

        In their submission, the RGL Plaintiffs contend that there is no available procedural

mechanism that will allow this Court to transfer the Roanoke State Court Cases directly from

state court in Virginia to this Court. RGLP Sur-Reply at 2. Specifically, the RGL Plaintiffs



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        Unless otherwise defined herein, capitalized terms shall have the meanings ascribed to
        them in the Omnibus Reply.



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assert that 28 U.S.C. § 157(b)(5) “does not give this Court authority to remove and transfer the

Roanoke state-court cases in the first place.” RGLP Sur-Reply at 9.

        As an initial matter, this Court has already determined that it has the authority to transfer

cases pending in state court to this Court, and has done so. See In re New Eng. Compounding

Pharm. Prods. Liab. Litig., 496 B.R. 256, 277 (D. Mass. 2013) (ordering the transfer to this

Court of, inter alia, “those cases pending in state courts in which any party has asserted a claim

(including a claim for contribution or indemnity) against NECC or any affiliated entity or

individual”) (emphasis added).

        In addition, 28 U.S.C. § 157(b)(5) explicitly authorizes this Court to transfer state court

actions to this Court. In pertinent part, § 157(b)(5) provides that “[t]he district court shall order

that personal injury tort and wrongful death claims shall be tried in the district court in which the

bankruptcy case is pending.” 28 U.S.C. § 157(b)(5) (emphasis supplied). By its terms, section

157(b)(5) plainly bestows upon the district court the actual authority to transfer actions pending

in state court. See, e.g., In re Pan Am Corp., 16 F.3d 513, 516 (2d Cir. 1994) (observing that the

“plain language” of section 157(b)(5) authorizes a district court to transfer state court actions to a

federal court, and transferring Florida state court cases directly to the Southern District of New

York); In re Metabolife Int’l, Inc., Case No. 05cv1802-IEG(RBB) [Dkt. No. 29] (Nov. 3, 2005)

(ordering the direct transfer of actions pending in state court to federal court) (attached hereto as

Exhibit 1); In re United States Lines, Inc., No. 90 M 47(MP), 1990 WL 451981, at *1-2

(S.D.N.Y. Nov. 6, 1990) (same); In re Nutraquest, Inc., Civ. No. 03-5869 (GEB), 2004 U.S.

Dist. LEXIS 29143, at *46 (D.N.J. Mar. 5, 2004) (noting the “clear authority of this Court to

transfer the [state court] personal injury and wrongful death actions pursuant to 28 U.S.C. §

157(b)(5)”) (attached hereto as Exhibit 2).



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        Notably, in Nutraquest, the debtor, who had filed its bankruptcy petition in New Jersey,

requested that the District Court for the District of New Jersey transfer several cases pending in

various state and federal courts pursuant to § 157(b)(5). Id. The court granted the motion with

respect to all but one case (which case was pending in another federal district court and in which

the debtor was not a defendant). Id. The debtor subsequently moved the court to reconsider with

respect to the one case not transferred, arguing that, inter alia, transfer pursuant to § 157(b)(5) is

not limited to claims against the debtor. See Brief of Nutraquest, Inc. in Support of Motion

Pursuant to L. Civ. R. 7.1(G) to Reconsider Denial of Transfer, Pursuant to 28 U.S.C. §

157(B)(5), of Coberly v. Cytodyne Technologies, et al., In re Nutraquest, Inc., Civil Action No.

03-5869 [Dkt. No. 24] (Feb. 5, 2004), at 10 (attached hereto as Exhibit 3). The court granted the

motion to reconsider, and transferred the action to the New Jersey District Court pursuant to §

157(b)(5).      See Order Granting Motion Pursuant to L. Civ. R. 7.1(G) to Reconsider Denial of

Transfer, Pursuant to 28 U.S.C. § 157(B)(5), of Coberly v. Cytodyne Technologies, et al., In re

Nutraquest, Inc., Civil Action No. 03-5869 [Dkt. No. 34] (Mar. 3, 2004) (attached hereto as

Exhibit 4).

        Moreover, logic and black-letter principles of statutory construction mandate that by

making section 157(b)(5) transfer of personal injury tort and wrongful death claims the default

with limited exceptions (“[t]he district court shall order . . .”), Congress imbued the district

courts with the ability and the authority to effectuate the mandated transfer.           See FTC v.

Anheuser-Busch, 363 U.S. 536, 553 80 S.Ct. 1267 (1960) (“the primary function of statutory

construction is to effectuate the intent of Congress”); Washington Market Co. v. Hoffman, 101

U.S. 112, 115 (1879) (“We are not at liberty to construe any statute so as to deny effect to any

part of its language. It is a cardinal rule of statutory construction that significance and effect



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shall, if possible, be accorded to every word. . . . [A] statute ought, upon the whole, to be so

construed that, if it can be prevented, no clause, sentence, or word, shall be superfluous, void, or

insignificant.”) (quotations omitted); cf. Air Transp. Assoc. v. Federal Energy Office, 382 F.

Supp. 437, 449 (D.D.C. 1974) (“A mandate to prescribe prices, necessarily implies authority to

limit prices”) (emphasis added).

         Accordingly, this Court has the authority, which it has indeed already embraced, to

transfer the State Court Actions to this Court.

B.       157(b)(5) Also Authorizes This Court to Return the Roanoke State Court Cases to
         Virginia for Trial

         The RGL Plaintiffs argue that if the Court does transfer the State Court Actions to this

Court pursuant to § 157(b)(5), the cases then “must” be tried in this Court. See RGLP Sur-Reply

at 12.    To the contrary, § 157(b)(5) explicitly provides this Court with the authority and

discretion to, in its discretion and at an appropriate time, transfer the cases to the District Court

for the Western District of Virginia for trial.

         Section 157(b)(5) provides that

         [t]he district court shall order that personal injury tort and wrongful death claims
         shall be tried in the district court in which the bankruptcy case is pending, or in
         the district court in the district in which the claim arose, as determined by the
         district court in which the bankruptcy case is pending.

28 U.S.C. § 157(b)(5) (emphasis added); see Podkolzin v. Amboy Bus Co., 402 B.R. 539, 543

(E.D.N.Y. 2009) (“[u]nder Section 157(b)(5) . . . a district court judge must set the venue” for

where the personal injury case will be tried); Hopkins v. Plant Insulation Co., 342 B.R. 703, 708

(D.Del. 2006) (explaining that under § 157(b)(5), the district court has the sole authority to

determine the venue for a personal-injury action). In particular, the Hopkins court observed that

under § 157(b)(5), “[i]n making a determination as to venue, the Court has three options. The

Court may try the case in this jurisdiction, transfer the case to the district in which the claim

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arose, or abstain from adjudicating the issue.” 342 B.R. at 708 (emphasis added).

        Accordingly, contrary to the RGL Plaintiffs’ assertions that this Court must try the

Roanoke State Court Cases, that “absolutely nothing about [§] 157(b)(5) . . . indicates any other

outcome,” RGLP Sur-Reply at 12, the plain language of § 157(b)(5) provides this Court with

discretion to transfer the Roanoke State Court Cases to the Western District of Virginia for trial

if it so decides that such a transfer would be appropriate at the conclusion of pretrial

administration.

        In addition, it must be noted that this Court has the authority pursuant to existing

statutory vehicles to deny abstention now without prejudice to renewal (in the same way it

denied the Trustee’s request to transfer the Roanoke State Court Cases earlier this year, without

prejudice to renewal, see New Eng. Compounding Pharm. Prods. Liab. Litig., 496 B.R. at 264)

and to revisit the issue under different circumstances at an appropriate time. Specifically, 28

U.S.C. § 1334 provides that “nothing in this section prevents a district court in the interest of

justice, or in the interest of comity with State courts or respect for State law, from abstaining

from hearing a particular proceeding arising under title 11 or arising in or related to a case under

title 11,” and 28 U.S.C. § 1452 provides that although a party may remove any claim in a civil

action to the district court for the district where such civil action in pending, “[t]he court to

which such claim or cause of action is removed may remand such claim or cause of action on

any equitable ground.”

C.      Transfer Will Not and Cannot Deprive Plaintiffs of their Rights to a Jury Trial

        The RGL Plaintiffs assert, without explanation, that transfer of the State Court Actions to

this Court would effectively waive the plaintiffs’ right to a jury trial. See RGLP Sur-Reply at 12

(transfer to this Court “means that the plaintiffs will likely be de facto deprived of their right to a

jury trial”).

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        The Virginia plaintiffs are entitled to a jury trial in federal court by the Seventh

Amendment to the United States Constitution. See U.S. Const. amend. VII. In addition, Rule 38

of the Federal Rules of Civil Procedure and Federal Rule of Bankruptcy Procedure 9015

(incorporating Rule 38), provides that “[t]he right of trial by jury as declared by the Seventh

Amendment to the Constitution—or as provided by a federal statute—is preserved to the parties

inviolate.” See Fed. R. Civ. P. 38(a); Fed. R. Bankr. P. 9015.

        Significantly and dispositively, 28 U.S.C. § 1411 provides that, with an exception not

relevant here “this chapter and title 11 do not affect any right to trial by jury that an individual

has under applicable non-bankruptcy law with regard to a personal injury or wrongful death

tort claim.” 28 U.S.C. § 1411(a) (emphasis supplied); see Adams v. Cumberland Farms, No. 95-

1736, 1996 U.S. App. LEXIS 10458, at *14 (1st Cir. May 7, 1996) (noting that § 1411(a) may

restrict, with respect to personal injury and wrongful death claims, the general rule that filing a

proof of claim generally waives jury trial right).

        Simply put, transfer pursuant to § 157(b)(5) will not and cannot deprive the Virginia

plaintiffs of their right to a jury trial.

D.      The RGL Plaintiffs’ Proofs of Claim Create an Additional Basis for Jurisdiction.

        The RGL Plaintiffs assert in the RGLP Sur-Reply that this Court does not have related-to

jurisdiction over the Roanoke Gentry Locke Plaintiffs’ claims against Insight just because those

plaintiffs have filed a proof of claim against NECC. See RGLP Sur-Reply at 12. However, as

set forth more fully in the Omnibus Reply, the RGL Plaintiffs’ proofs of claim do in fact provide

an additional and dispositive basis for jurisdiction over the State Court Actions. See Omnibus

Reply at 6-7 (citing In re New Eng. Compounding Pharm. Prods. Liab. Litig., 496 B.R. at 267

n.3; TD Bank, N.A. v. Sewall, 419 B.R. 103 (Bankr. D. Me. 2009); In re Baptist Found. of

Arizona, 2000 WL 35575676, at *1 (D. Ariz. June 30, 2000); In re Curran, 157 B.R. 500 (Bankr.

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D. Mass. 1993)). Seeking to have their cake and eat it too, the RGL Plaintiffs assert that they

may elect to file a proof of claim and participate in the Debtor's chapter 11 proceedings (and the

distributions contemplated to flow to victims and creditors therefrom) with no jurisdictional

consequences. Specifically, they contend that they filed their proofs of claim under the “duress”

of the Bar Date Order and that this “duress” defeats the Trustee and Official Committee’s

jurisdictional arguments. RGLP Sur-Reply at 13.

        The RGL Plaintiffs rely on In re Castlerock Properties, 781 F.2d 159 (9th Cir. 1986), for

the proposition that “[w]here parties are forced to file proofs of claim as defensive maneuvers to

preserve their rights, they are not ‘consenting’ to jurisdiction by the bankruptcy court.” RGLP

Sur-Reply at 13. The Castlerock court’s narrow ruling was based upon unique facts not present

here. In Castlerock, the debtor (“Castlerock”) and a non-debtor (“Piambo”) were involved in a

breach of contract dispute. Pre-petition, Piambo filed a state court action based on the alleged

breach. . After Castlerock filed a petition for relief under chapter 11 of the Bankruptcy Code,

Piambo moved the Bankruptcy Court for relief from the automatic stay, pursuant to 11 U.S.C. §

362(d), to continue to pursue its state court action.

        Although the Bankruptcy Court never granted that relief, it permitted the debtor,

Castlerock, to pursue its own breach of contract claims against Piambo in Bankruptcy Court. In

order to preserve its claims and affirmative defenses, Piambo filed a proof of claim. The issue

presented to the Castlerock court was whether the Bankruptcy Court could enter a final judgment

on Castlerock's state law claims against Piambo. Under the Bankruptcy Code, a Bankruptcy

Court may only enter a final judgment in “core” cases. Castlerock argued that its claims were

“core” under 28 U.S.C. § 157(b)(2)(C) (characterizing “counterclaims by the estate against

person filing claims against the estate” as “core”). The United States Court of Appeals for the



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Ninth Circuit rejected this reasoning, concluding that since Castlerock's adversary proceeding

against Piambo in the Bankruptcy Court was filed before Piambo filed its proof of claim,

Castlerock’s adversary proceeding could not be characterized as a “counterclaim” to Piambo’s

proof of claim.

          The debtor also argued that, by filing a proof of claim, Piambo had consented to the

bankruptcy court’s jurisdiction. Under the unique facts of this case, where the Bankruptcy Court

had permitted the debtor to pursue claims while refusing to lift the automatic stay to permit

Piambo to assert Piambo’s claims, the Castlerock court refused to find such consent. The

Castlerock holding, which has been characterized as "narrow,"3 has no application to the instant

case. 4


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          The court in In BKW Systems, Inc., 66 B.R. 546 (Bankr. D.N.H. 1986), noted:

                  [In re Castlerock] does not hold that creditors seeking to share in a
                  bankruptcy estate, and any counterclaims that a bankruptcy debtor may
                  have against such claimants, are outside the core jurisdiction of the
                  bankruptcy courts. It dealt instead with a unique situation in which the
                  creditor involved was not given an opportunity to freely elect whether or
                  not to assert a claim in the bankruptcy proceeding. The bankruptcy court
                  simply moved forward precipitously to assert jurisdiction over debtor's
                  "counterclaim" against the creditor when the creditor had not yet filed a
                  claim against the bankruptcy estate. The creditor had simply filed a motion
                  for relief from the automatic stay, which was never acted upon by the
                  bankruptcy court.

          66 B.R. 546, 547-48 (Bankr. D.N.H. 1986) (internal citation omitted). That court further
          explained:

                  The Castlerock decision I believe is best explained in terms of its actual
                  narrow holding based upon the specific and rather peculiar procedural
                  posture in which the issue was presented to the court of appeals.

          Id.
4
          The RGL Plaintiff’s reliance on CIT Communications Financial Corp. v. Level 3
          Communications, LLC, F. Supp. 2d 380 (D. Del. 2007), is similarly misplaced. That case
                                                                                  (Continued…)

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                                            CONCLUSION

        For all the foregoing reasons, the Trustee and the Official Committee respectfully request

that this Court: (i) grant the Renewed Motion to Transfer; (ii) deny the Renewed Motion to

Abstain; and (iii) enter an order transferring the State Court Actions to this Court for further

proceedings.

Dated: February 6, 2014
Respectfully submitted,

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        addressed the scope of “post-confirmation” jurisdiction. In that context, the Pacor
        analysis is inapplicable. Id. at 386. Post-confirmation, the scope of jurisdiction is
        narrower, and only arises where a matter affects “the interpretation, implementation,
        consummation, execution, or administration of [a] confirmed plan.” Id. at 386, citing
        Binder v. Price Waterhouse & Co. (In re Resorts Int’l), 372 F.3d 154, 167 (3d Cir.
        2004)).



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